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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

MICHAEL SIMONS : CIVIL ACTION NO.
Plaintiff, : 3:19-CV-01547(VAB)

Vv.

YALE UNIVERSITY,
PETER SALOVEY,
ROBERT ALPERN, M.D.,
UNKNOWN PERSONS :
Defendant. : November 27, 2019

MOTION TO DISMISS AND MOTION TO STRIKE
AND FOR MORE DEFINITE STATEMENT

Pursuant to Federal Rule of Civil Procedure 12(b), the defendants Yale
University, Peter Salovey, and Robert Alpern, M.D. (“University Defendants’),
hereby move to dismiss the action filed by the plaintiff, Michael Simons, as
time-barred and for failing to state a plausible claim upon which relief can be
granted. Pursuant to Federal Rules of Civil Procedure 12(e) and (f), the
University Defendants also move to strike, and in the alternative for a more
definite statement of, the plaintiff’s allegations concerning “unknown persons.”

The plaintiff's allegations are time-barred because they purport to seek

relief for incidents in 2013 and 2014, and because the plaintiff failed to comply
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with statutory prerequisites to a timely suit. The plaintiffs allegations are
subject to dismissal for failure to state a plausible claim upon which relief can
be granted because the plaintiff failed in all seven of his counts to allege the
essential elements of those claims. Finally, the plaintiff's allegations regarding
“unknown persons” should be stricken as impertinent, or, in the alternative,
require a more definite statement because they are so vague that the University
Defendants cannot prepare a response.

As demonstrated more fully in the accompanying Memorandum of Law,
the Court should dismiss the action, strike the allegations concerning
“unknown persons,” or require a more definite statement of those allegations if

they survive the motions to dismiss and to strike.
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THE UNIVERSITY DEFENDANTS
BY: yy, = rN

KPVIN C. SHEA (CT04261)
NJAMIN LEVITES (CT3048 1)

CLENDENEN & SHEA, LLC

400 Orange Street

New Haven, CT 06511

Telephone: 203-787-1183

Fax: 203-787-2847

kcs@clenlaw.com

bhl@clenlaw.com

 

CERTIFICATION:

This is to certify that a copy of the foregoing has been sent to all required

 

 

CENDENEN & SHEA, LLC
